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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


 ABERDEEN DEVELOPERS, LLC,

                     Plaintiff,                  No. 23-cv-14279

              v.                                 Judge John F. Kness

 WELLS FARGO BANK, NATIONAL
 ASSOCIATION, AS TRUSTEE FOR
 REGISTERED HOLDERS OF
 DEUTSCHE MORTGAGE & ASSET
 RECEIVING CORPORATION,
 CD2019-CD8 MORTGAGE TRUST,
 COMMERCIAL MORTGAGE PASS-
 THROUGH CERTIFICATES, SERIES
 2019-CD8, a National Bank, and LNR
 PARTNERS, LLC,

                     Defendants.




                    MEMORANDUM OPINION AND ORDER

      Plaintiff Aberdeen Developers, LLC, brought this breach of contract suit

alleging, among other things, that a loan contract between the parties requires that

Defendant LNR Partners, LLC disburse certain accumulated funds to Plaintiff.

Plaintiff seeks release of the funds and a declaration that the contract unambiguously

requires that release. Defendants move to dismiss a portion of the complaint on the

grounds that the contract unambiguously establishes the opposite—that is, that the

funds Plaintiff seeks are correctly held in escrow.
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        As explained below, the loan agreement unambiguously does not require

release of the disputed funds. Accordingly, Defendants’ motion is granted.

I.      BACKGROUND

        Plaintiff Aberdeen Developers secured a loan by offering as collateral a mixed-

use building in Chicago, Illinois (“the property”). (Dkt. 24 ¶ 1.) That loan was

packaged with other loans and sold as commercial mortgage-backed securities;

Defendant LNR Partners is now the “special servicer” of Plaintiff’s loan. (Id.)

Defendant Wells Fargo is the trustee of the securitized mortgage trust CD 2019-CD8.

(Id.) The original lender plays no role in enforcement of provisions of the loan. (Id.)

        Two loan documents govern the present dispute: the Loan Agreement and the

Cash Management Agreement (CMA) (together, “Loan Documents”). Plaintiff attests

that it attached true and accurate copies of each to the complaint. (See Dkt. 24-1, 24-

6.) Plaintiff is referred to as “Borrower” and Defendant LNR Partners is “Lender” in

the Loan Documents.

        Plaintiff explains that during the COVID-19 pandemic, the two largest tenants

of the building securing the loan stopped paying rent. (Dkt. 24 ¶ 2.) Even though

Plaintiff continued to make all payments, Defendant LNR deemed those two lease

defaults “Cash Sweep Trigger Event[s]” as defined by the CMA. (Id. ¶ 3.) Section 3.4

of the CMA dictates that after the occurrence of a Cash Sweep Trigger Event, funds

from Plaintiff be “swept” into a Cash Management Account. (Id.; Dkt. 24-6 at 11.)

Those funds are then distributed in a specific order of priority as established in CMA

Section 3.4 subsections (a)–(h). (See Dkt. 24-6 at 11–12.) Any funds left over after




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those disbursements are deemed “Excess Cash Flow” and “shall be deposited into a

separate subaccount . . . to be held by Lender as additional security for the Loan[.]”

(Id. at 12 (subsection 3.4(i)).) Immediately following is subsection 3.4(j), which reads:

“ . . . all Excess Cash Flow shall be disbursed to, or at the written direction of,

Borrower.” (Id.)

         Plaintiff alleges that despite the loss of its two largest tenants, Plaintiff is

making payments such that the excess cash flow in the cash management account

exceeds two million dollars. (Dkt. 24 ¶ 6.) Plaintiff has demanded disbursement of

these funds under subsection 3.4(j), but Defendants have refused to comply. (Id. ¶¶ 7–

8.)

         Plaintiff sued Defendants seeking breach of contract damages and a

declaration that, among other things, Plaintiff is entitled to the excess cash flow.

(Dkt. 24 ¶¶ 89–108.) Defendants have moved to dismiss Count I and a portion of

Count III of the complaint, arguing that the loan documents unambiguously establish

that Plaintiff has no contractual right to the disbursement of the excess cash flow.

(See generally Dkt. 31.)

II.      STANDARD OF REVIEW

         A motion under Rule 12(b)(6) “challenges the sufficiency of the complaint to

state a claim upon which relief may be granted.” Hallinan v. Fraternal Ord. of Police

of Chi. Lodge No. 7, 570 F.3d 811, 820 (7th Cir. 2009). Each complaint “must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

on its face.’ ” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp.




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v. Twombly, 550 U.S. 544, 570 (2007)). These allegations “must be enough to raise a

right to relief above the speculative level.” Twombly, 550 U.S. at 555. Put another

way, the complaint must present a “short, plain, and plausible factual narrative that

conveys a story that holds together.” Kaminski v. Elite Staffing, Inc., 23 F.4th 774,

777 (7th Cir. 2022) (cleaned up). In evaluating a motion to dismiss, the Court must

accept as true the complaint’s factual allegations and draw reasonable inferences in

the plaintiff’s favor. Iqbal, 556 U.S. at 678. But even though factual allegations are

entitled to the assumption of truth, mere legal conclusions are not. Id. at 678–79.

      When faced with a dispute over interpretation of contractual provisions, a

court “ ‘must initially determine, as a question of law, whether the language of a

purported contract is ambiguous as to the parties’ intent.’ ” Kap Holdings, LLC v.

Mar-Cone Appliance Parts Co., 55 F.4th 517, 526 (7th Cir. 2022) (quoting Quake

Constr., Inc. v. Am. Airlines, Inc., 565 N.E.2d 990, 994 (Ill. 1990)). A contractual

provision   is   ambiguous     if   it   is   “subject   to   more   than   one   reasonable

interpretation . . . .” Elson v. State Farm Fire & Casualty Co., 691 N.E.2d 807, 811

(Ill. App. Ct. 1998). If the court determines that the language in question is

ambiguous, “ ‘the interpretation of the language is a question of fact which a [ ] court

cannot properly determine on a motion to dismiss.’ ” Kap Holdings, 55 F.4th at 526

(quoting Quake Constr., 565 N.E.2d at 994).

      State law governs contract interpretations in diversity cases, 1 and “Illinois

uses in general a ‘four corners’ rule in the interpretation of contracts, holding, as we


   1 Diversity jurisdiction under 28 U.S.C. § 1332(a) exists in this case. Plaintiff, Aberdeen

Developers, is a Delaware LLC whose sole member is Aberdeen Developers Holdco LLC,


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have previously remarked, that ‘if the language of a contract appears to admit of only

one interpretation, the case is indeed over.’ ” Bourke v. Dun & Bradstreet Corp., 159

F.3d 1032, 1036 (7th Cir. 1998) (quoting AM Internat’l Inc. v. Graphic Management

Associates, Inc., 44 F.3d 572, 574 (7th Cir. 1995)). This is so because “[i]f a single

definite meaning can reasonably be imputed to [the disputed terms], the contract is

not ambiguous and its language controls.” Id. at 1037. Where both parties argue that

the language is unambiguous but the parties’ interpretations of the language differ,

if the court “find[s] one proposed interpretation to be reasonable, [the court] must

ascertain whether the other interpretation is likewise reasonable.” Id.




which has four members, all of whom are Illinois citizens (Dkt. 57 at 1–2). To determine the
citizenship of an LLC, citizenship “must be traced through however many layers of partners
or members there may be.” Meyerson v. Harrah’s East Chicago Casino, 299 F.3d 616, 617 (7th
Cir. 2002). An LLC is a citizen of every state in which its members are citizens. Thomas v.
Guardsmark, LLC, 487 F.3d 531, 534 (7th Cir. 2007). The Seventh Circuit has “held
repeatedly that there’s no such thing as a [state name here] partnership or LLC, [ ] only the
partners’ or members’ citizenships matter.” West v. Louisville Gas & Elec. Co., 951 F.3d 827,
829 (7th Cir. 2020). Thus, Plaintiff Aberdeen Developers is a citizen of Illinois for purposes
of diversity jurisdiction.
    Defendant Wells Fargo is a South Dakota Citizen, because that is where its main office
is located. (Dkt. 59 at 2); see Wachovia Bank, N.A. v. Schmidt, III, 546 U.S. 303, 307 (2006).
Defendant LNR is a single-member Florida LLC whose sole member is a single-member LLC
(LNR Partners Parent, a Delaware LLC), whose sole member is a single-member LLC (LNR
RESFG holdings, a Florida LLC), whose sole member is a single-member LLC (Leisure
Colony Management, a Florida LLC), whose sole member is a single-member LLC (LNR
Property, located in Delaware), whose sole member is a single-member LLC (SPT LNR
Property, TRS, located in Delaware), whose sole member is a single-member LLC (SPT LNR
Property, located in Delaware), whose sole member is Starwood Property Trust, a
corporation. Starwood is incorporated in Maryland and has its principal place of business in
Connecticut, which makes it a citizen of both Maryland and Connecticut. See 28 U.S. Code
§ 1332(c)(1). Tracing LNR’s citizenship down to Starwood, then, LNR is a citizen of Maryland
and Connecticut. See Meyerson, 299 F.3d at 617.
    Because Plaintiff is a citizen of Illinois and Defendants are citizens of South Dakota,
Maryland, and Connecticut, diversity jurisdiction exists in this case.



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III.   DISCUSSION

       Analysis of the issues presented begins with Defendants’ proposed

interpretation of the relevant contractual language. If that interpretation is

reasonable, the Court will then consider Plaintiff’s proposed interpretation. See

Bourke, 159 F.3d at 1037. If Plaintiff’s interpretation is also reasonable, then the

contract is ambiguous. Id. If Plaintiff’s interpretation is not reasonable, then there is

no ambiguity for the Court to resolve, and the Court may determine the “[contract’s]

meaning as a matter of law.” Id.

       A.    Defendants’ proposed interpretation is reasonable

       Defendants contend that the totality of the contractual agreement

unambiguously establishes that Plaintiff is not entitled to disbursement of the excess

cash funds. (Dkt. 31 at 7.) Specifically, Defendants rely on the language of CMA

sections 3.3 and 3.4 and section 6.3 of the Loan Agreement to support this

interpretation. (Id.)

             1.     Relevant provisions of the Loan Documents

                                   CMA Section 3.3

       CMA Section 3.3 is entitled “Transfers to the Cash Management Account.”

That provision reads:

       Deposit Bank shall transfer all available amounts (less the reasonable
       fees of Deposit Bank and any required Minimum Balance) on deposit in
       the Clearing Account as follows: (i) prior to the occurrence of a Cash
       Sweep Trigger Event, to the Borrower Operating Account, and (ii) upon
       Disposition Instructions pursuant to the Deposit Account Control
       Agreement from Lender of the occurrence of a Cash Sweep Trigger
       Event, and not less frequently than as set forth in the DACA, to the Cash
       Management Account, until such time, if any, that Lender shall provide



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      written Disposition Instructions pursuant to the Deposit Account
      Control Agreement to Deposit Bank to otherwise disburse funds. Lender
      shall provide written Notice and instructions to Deposit Bank of the
      requirement to transfer funds to the Cash Management Account or as
      otherwise directed by Lender. In the event that a Cash Sweep Event
      Period shall no longer exist, Lender shall provide written Notice and
      instructions to Deposit Bank to disburse funds thereafter deposited into
      the Clearing Account to the Borrower Operating Account and at
      Lender’s discretion, Lender shall either apply in accordance with
      Section 3.4 of this Agreement or disburse the then current balance of
      funds related solely to the Premises (but not any other property) that
      are held in the Cash Management Account and the Sweep Account, as
      applicable, to the Borrower Operating Account.

(Dkt. 24-6 at 10–11.)

                                   CMA Section 3.4

      CMA section 3.4, titled “Application of Cash Management Account Funds,”

establishes the priority of disbursements from the CMA. (Id. at 11–12.) Section 3.4

includes subsections 3.4(a)–(j) and explains that disbursements from the CMA shall

be applied in the order of the subsections: subsection 3.4(a), disbursements to tax and

insurance escrow funds, are to be disbursed first; 3.4(b), disbursements for taxes and

insurance in the event of no escrow funds, are to be disbursed second; 3.4(c),

disbursements for bank fees, are to be disbursed third; and so on through 3.4(j). (Id.)

      At issue in this case are subsections 3.4(i) and (j). Subsection 3.4(i) reads:

“Ninth, all amounts then remaining after payment of items (a) through (h) (the

“Excess Cash Flow”), shall be deposited into a separate subaccount (the “Sweep

Account”) to be held by Lender as additional security for the Loan.” (Dkt. 24-6 at 12

(emphasis in original).) Subsection 3.4(j) reads: “Tenth, all Excess Cash Flow shall be

disbursed to, or at the written direction of, Borrower.” (Id.)




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                             Loan Agreement Section 6.3

        Section 6.3 of the Loan Agreement is titled “Cash Management.” (Dkt. 24-1 at

65.) Subsection 6.3(b) reads:

        Following the occurrence and during the continuance of a Cash Sweep
        Trigger Event, Borrower acknowledges that all proceeds on deposit in
        (and subsequently deposited into) the Clearing Account shall be
        transferred to and held in the Cash Management Account (as defined in
        the Cash Management Agreement) as additional Collateral under the
        Loan. Following a Cash Sweep Cure and provided no Event of Default
        is then occurring, all funds on deposit in the Cash Management Account
        shall be immediately remitted to Borrower in accordance with the Cash
        Management Agreement.

(Id.)

              2.    Defendants’ interpretation

        Defendants argue that these selected provisions “together confirm that Lender

is entitled to retain Excess Cash Flow during a Cash Sweep Event Period . . . as

additional collateral under the Loan.” (Dkt. 31 at 7.)

        Central to Defendants’ interpretation is the initiation, pendency, and

conclusion of the Cash Sweep Event Period, and the actions that must or may be

taken at each interval. As Defendants explain, “[a] ‘Cash Sweep Event Period’ is, at

a high-level, the period of time during which a Cash Sweep Trigger Event has

occurred and is continuing, and until ‘a Cash Sweep Cure[’] has occurred.” (Id. at 4

n.6 (citing Dkt. 24-6 at 3).) Neither party disputes that Defendants properly declared

Cash Sweep Trigger Events when the Property’s two main tenants failed to pay rent;

these trigger events instigated a Cash Sweep Event Period. (See Dkt. 24 at 13; Dkt.

31 at 5.) And the parties do not dispute that no Cash Sweep Cure has occurred, which




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would end the Cash Sweep Event Period (see generally Dkt. 41; Dkt. 43 at 3). At

present, then, and in the absence of a contrary indication from either side, the Cash

Sweep Event Period remains ongoing.

         Defendants argue that the terms highlighted above provide that during a Cash

Sweep Event Period, funds must be maintained in the Cash Management Account

and Defendants retain the power to disburse those funds. (Dkt. 31 at 7.) Defendants

contend that under this interpretation of the Loan Agreement, they have properly

retained—that is, declined to disburse to Plaintiff—the funds at issue. (Id.)

         Defendants also argue that their interpretation is reasonable even in the

absence of CMA section 3.3 and section 6.3 of the Loan Agreement. (Dkt. 31 at 9–10.)

The order of CMA section 3.4 establishes that subsection 3.4(i), which provides that

“excess cash flow shall be deposited into a separate subaccount . . . to be held by

Lender as additional security for the Loan”, has priority over subsection 3.4(j), which

provides that “all excess cash flow shall be disbursed to, or at the written direction

of, Borrower.” (Dkt. 24-6 at 12.) Nothing in the contract, Defendants argue, allows a

later subsection of CMA section 3.4 to jump an earlier one: subsection 3.4(j)’s grant

of disbursement to Plaintiff, therefore, cannot displace Defendants’ contractual right

under subsection 3.4(i) to hold the excess cash flow as additional security. (Dkt. 31 at

9–10.)

         Plaintiff counters that Defendants’ reading ignores and contradicts the plain

language of subsection 3.4(j). (Dkt. 41 at 5.)




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             3.    Analysis

      Defendants’ interpretation of the contract language is reasonable. CMA section

3.3 provides that, during a Cash Sweep Event Period, funds are to be deposited into

the Cash Management Account “until such time, if any, that Lender shall provide

written Disposition Instructions . . . to otherwise disburse funds.” (Dkt. 24-6 at 10–

11.) CMA section 3.4 establishes that all funds in the Cash Management Account

remaining after the required priority payments listed in subsections 3.4(a)–(h) are

“held by Lender as additional security for the Loan.” (Id. at 12.) And Section 6.3 of

the Loan Agreement requires that “all proceeds on deposit in (and subsequently

deposited into) the Clearing Account shall be transferred to and held in the Cash

Management Account . . . as additional Collateral under the Loan.” (Dkt. 24-1 at 65.)

A Cash Sweep Event Period is ongoing, so, as all three provisions set forth, funds in

the Cash Management Account are to remain there providing additional security for

the Loan unless Lender decides otherwise or a Cash Sweep Cure occurs.

      Plaintiff’s argument that Defendants’ interpretation essentially writes out

CMA subsection 3.4(j) is unpersuasive. Section 6.3 of the Loan Agreement also

establishes that funds in the Cash Management Account are “immediately remitted

to Borrower” following a Cash Sweep Cure. (Dkt. 24-1 at 65.) And CMA section 3.3

requires Lender, “[i]n the event that a Cash Sweep Event Period shall no longer

exist,” either to comply with CMA section 3.4 (including subsection 3.4(j)) or to

disburse CMA funds to Borrower. (Dkt. 24-6 at 11.) Under Defendants’




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interpretation, CMA subsection 3.4(j) still has its place: CMA funds are disbursed to

Borrower upon conclusion the Cash Sweep Event Period.

       Plaintiff argues that “Section 3.3 addresses ‘Transfers to the Cash

Management Account—not disbursements from the [Cash Management Account].”

(Dkt. 41 at 5.) But that is not an accurate statement of the scope of Section 3.3.

Rather, the latter portion of Section 3.3 establishes that once a Cash Sweep Event

Period ends, Lender must either apply Section 3.4 or disburse to Borrower remaining

funds in the CMA related to the Premises. (Dkt. 24-6 at 11.)

       Plaintiff’s other attempts to render Defendants’ interpretation deficient also

fail. Plaintiff argues that Defendants’ interpretation “suggests that the entire

waterfall of priority of payments of CMA section 3.4(a)–(j) is surplusage.” (Dkt. 41 at

7.) Not so: Defendants’ interpretation properly gives priority to CMA subsection 3.4(i),

which allows Defendants to retain excess cash flow as additional security on the Loan,

over subsection 3.4(j). Plaintiff’s contention that Defendants misread CMA section

3.3 by reading into it an “excuse[] from applying funds as required by CMA section

3.4(j)” (Dkt. 41 at 9) also misses the mark, as section 3.3 directs funds to be deposited

into the cash management account upon the occurrence of a Cash Sweep Trigger

Event and “until such time, if any, that Lender shall [direct] Deposit Bank to

otherwise disburse funds” (Dkt. 24-6 at 10–11.) Funds in the cash management

account are to be applied pursuant to CMA section 3.4, which, again, establishes

priority of Defendants’ retention of the funds (subsection 3.4(i)) over disbursement to

Plaintiff.




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       In sum, Defendants’ interpretation of the relevant contract language is

reasonable. If Plaintiff’s interpretation is also reasonable, then the language is

ambiguous. See Bourke, 159 F.3d at 1037.

       B.      Plaintiff’s proposed interpretation is unreasonable

       Plaintiff interprets the relevant contractual language as requiring that excess

cash flow be immediately distributed to Plaintiff. (Dkt. 41 at 1.) Plaintiff argues that

this interpretation is correct because CMA subsection 3.4(j) unambiguously requires

the excess cash flow be disbursed to Plaintiff.2 (Id.) Plaintiff premises its argument

almost exclusively on the language of subsection 3.4(j). (Id. at 4.)

       Defendants contend that Plaintiff’s interpretation cannot be squared with the

language of the other relevant provisions of the Loan. (Dkt. 31 at 7.) Defendant argues

that Plaintiff’s reading essentially eliminates subsection 3.4(i), which comes before

3.4(j) in the section 3.4 list of priority. (Dkt. 31 at 9–10.) Plaintiff attempts to

harmonize subsections 3.4(i) and 3.4(j) by arguing that 3.4(i) requires the excess cash

flow to be held by Lender until it is disbursed under 3.4(j). (Dkt. 41 at 2.) Defendants

counter that the Loan Documents “do not provide that Lender’s interest in Excess

Cash Flow is ephemeral and lasts only for the snapshot in time between” application

of subsections 3.4(h) and 3.4(j). (Dkt 43 at 3.) That “ephemeral” result would be

contrary to the language of subsection 3.4(i), which provides that the excess cash flow


   2 Plaintiff also argues that this interpretation is correct because Plaintiff has requested

that Defendants disburse the funds and because Defendants are motivated to retain the
funds given the substantial interest the funds are generating. (Dkt. 41 at 1.) Although these
allegations are relevant to the proffered story of the case, they are irrelevant in this analysis
that is cabined, at least at this stage, to the “four corners” of the contract. ” Bourke, 159 F.3d
at 1036.


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“be held by Lender as additional security for the Loan.” (Dkt. 24-6 at 12.) Defendants

cannot be entitled to hold funds as security and also be required to immediately

disburse those funds to Plaintiff.

      Plaintiff’s interpretation, cabined as it is to the language of CMA subsection

3.4(j), is therefore unreasonable. Under Illinois law, words “derive their meaning from

the context in which they are used,” and a contract “must be construed as a whole,

viewing each part in light of the others. The intent of the parties is not to be gathered

from detached portions of a contract or from any clause or provision standing by

itself.” Gallagher v. Lenart, 874 N.E.2d 43, 58 (Ill. 2007) (internal citation omitted).

Taken as a whole, the Loan Documents do not require disbursement of the excess

cash flow to Plaintiff while the Cash Sweep Event Period remains ongoing.

      Because there is only one reasonable interpretation of the contract, it is, as a

matter of law, unambiguous, and its language controls. See Bourke, 159 F.3d at 1037.

IV.   CONCLUSION

      For the foregoing reasons, Defendant’s motion to dismiss Count I and that

portion of Count III relating to excess cash flow amounts is granted.


SO ORDERED in No. 23-cv-14279.

Date: November 25, 2024
                                                JOHN F. KNESS
                                                United States District Judge




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